             Case 23-40082               Doc 57         Filed 06/09/23 Entered 06/09/23 13:00:18                            Desc Main
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Fill in this information to identify the case:

Debtor name         Robbins Service Group, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)    23-40082
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 9, 2023                    X /s/ Michael A. Robbins
                                                           Signature of individual signing on behalf of debtor

                                                            Michael A. Robbins
                                                            Printed name

                                                            President/CEO
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Robbins Service Group, LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)               23-40082
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           673,300.47

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           673,300.47


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           900,595.75


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            48,355.42

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,758,828.81


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           2,707,779.98




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name       Robbins Service Group, LLC

United States Bankruptcy Court for the:   WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)     23-40082
                                                                                                                            Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                            debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                   Last 4 digits of account
                                                                                                 number


          3.1.   United Commmunity Bank                          Checking                        6059                                       $206.57




          3.2.   United Community Bank                           Checking                        5225                                         $36.00




          3.3.   United Community Bank                           Checking                        0323                                       $205.32




          3.4.   United Community Bank                           Checking                        5470                                       $171.76




          3.5.   First Citizens Bank                             Checking                        4870                                     $4,859.29




          3.6.   First Citizens Bank                             Checking                        9601                                       $285.95




Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                                 page 1
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                 Name




          3.7.     First Citizens Bank                                Checking                             9599                   $3,427.75




          3.8.     First Citizens Bank                                Checking                             9628                    $426.94



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                   $9,619.58
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     3D Worldwide - Security Deposit on Denver Location                                                         $12,000.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                  $12,000.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                     79,960.24      -                           16,558.33 = ....           $63,401.91
                                       face amount                          doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                  $63,401.91
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                page 2
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             Name


      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used     Current value of
                                                                         debtor's interest          for current value         debtor's interest
                                                                         (Where available)

39.       Office furniture
          Miscellaneous Office Furniture                                             Unknown        N/A                                  Unknown



40.       Office fixtures
          Miscellaneous Office Fixtures                                              Unknown                                             Unknown



41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Miscellaneous Office Equipment                                             Unknown                                             Unknown



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                                   $0.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used     Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value         debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 3
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             Name

          47.1.    *See Attached 206 A/B Number 47
                   Spreadsheet*                                                   Unknown            N/A                                  Unknown



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          *See Attached 206 A/B Number 50
          Spreadsheet*                                                            Unknown                                                 Unknown




51.       Total of Part 8.                                                                                                                  $0.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and             Net book value of             Valuation method used    Current value of
          property                              extent of              debtor's interest             for current value        debtor's interest
          Include street address or other       debtor's interest      (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. Operations
                   4340 N NC 16
                   Business Hwy
                   Denver, NC 28037             Lease                             Unknown                                                 Unknown


          55.2.    Office Space
                   8226 Village Harbor
                   Drive
                   Cornelius, NC 28031          Lease                             Unknown                                                 Unknown




56.       Total of Part 9.                                                                                                                   $0.00
          Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
          Copy the total to line 88.


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                              page 4
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              Name

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                        Net book value of       Valuation method used       Current value of
                                                                      debtor's interest       for current value           debtor's interest
                                                                      (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           www.wplkn.com                                                        Unknown                                               Unknown



62.        Licenses, franchises, and royalties
           NC General Contractor License                                        Unknown                                               Unknown


           NC Irrigation Contractor License                                     Unknown                                               Unknown


           NC Landscape Contractor License                                      Unknown                                               Unknown


           NC Plumbing Contractor License                                       Unknown                                               Unknown


           SC General Contractor License                                        Unknown                                               Unknown



63.        Customer lists, mailing lists, or other compilations
           Customer Database                                                    Unknown                                               Unknown



64.        Other intangibles, or intellectual property
           Landscape Project Designs                                            Unknown                                               Unknown



65.        Goodwill
           Goodwill                                                             Unknown                                               Unknown



66.        Total of Part 10.                                                                                                            $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 5
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Debtor        Robbins Service Group, LLC                                                   Case number (If known) 23-40082
              Name

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

           Employee Retention Credits                                                        Tax year 2020                             $95,373.79



           Employee Retention Credits                                                        Tax year 2021                            $485,586.55



73.        Interests in insurance policies or annuities

           Northwestern Mutual Key Life Policy                                                                                          $7,318.64



74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Potential Lawsuits Against Former Employees,
           Davenport Law and Certain Merchant Cash Advance
           Companies                                                                                                                    Unknown
           Nature of claim
           Amount requested                                      $0.00



75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

           Option to Purchase on Denver Location                                                                                        Unknown



77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership

78.        Total of Part 11.                                                                                                       $588,278.98
           Add lines 71 through 77. Copy the total to line 90.

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 6
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79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
           No
           Yes




Official Form 206A/B                            Schedule A/B Assets - Real and Personal Property                            page 7
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Debtor          Robbins Service Group, LLC                                                                          Case number (If known) 23-40082
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $9,619.58

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $12,000.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $63,401.91

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                $588,278.98

91. Total. Add lines 80 through 90 for each column                                                            $673,300.47           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $673,300.47




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 8
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                                            Fleet Inventory


                                              Fuel
 Vendor      Year     Make        Model                         VIN #              Tag Number       Balance
                                             Type
   Ally      2019     Chevy      6500HD      Diesel    1HTKHPVM0KH338754            KS7173
   Ally      2019     Chevy       5500       Diesel    1HTKJPVK8KH258623            KJ4345
   Ally      2022     Chevy       1500        Gas     1GCPYBEK1NZ214656            NX6510
   Ally      2021     Chevy       3500        Gas      1GB4WRE78MF278601            KV2245
   Ally      2020     Chevy      2500HD      Diesel    1GC1YNEY9LF332237            KD7757
   Ally      2021     Chevy       2500        Gas      1GB1WLE75MF175183            KT9227
   GM        2021     Chevy      Equinox      Gas     3GNAXHEV8MS123490            JEM6959
   GM        2021     Chevy       5500       Diesel    1HTKJPVKXMH755272            NW4664
   GM        2021     Chevy       1500        Gas      1GCPYBEH5MZ171121           RBW9524
   GM        2020     Chevy       4500       Diesel    1HTKHPVK3LH248482            KN1199
   GM        2021     Chevy      2500HD      Diesel    1GC4YLEY1MF129748            KJ2195
  Isuzu      2023     Isuzu      NPR-HD       Gas      54DC4W1DXPS203557            RD6956
Mitsubishi   2021     Chevy       5500       Diesel    1HTKJPVK4MH607926            KY1778
Mitsubishi   2021     Chevy       5500       Diesel    1HTKJPVK4MH814607            NW4663
Mitsubishi   2021     Chevy       3500        Gas      1GB4WRE71MF279315            KY1739
Mitsubishi   2022     Chevy       1500        Gas     1GCPYBEK9NZ116300            KY1754
Mitsubishi   2022     Chevy       1500        Gas      1GCPDBEK9NZ515106            RC1804
Mitsubishi   2022     Chevy      2500HD      Diesel    1GC4YPEYXNF101682            RB6371
Mitsubishi   2023     Chevy      Equinox      Gas     3GNAXHEG8PL148406            RED4988
Mitsubishi   2023     Chevy      Equinox      Gas     3GNAXHEG3PL148426            RED4987
  None       2013     Dodge       5500       Diesel    3C7WRNEL2D6595048            KE4718
  None       2016     Dodge       5500       Diesel    3C7WRNFL6GG135264           YA160951
  None       2017     Dodge       3500        Gas     3CYWRSCJ7HG719546            KA7176
 Toyota      2020     Isuzu      NPR-HD       Gas      54DC4W1B4LS805296            KL7540
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                                                        Equipment Inventory


        Creditor             Contract #     Year                            Description                        Lease      Purchase      Balance
                                            2022   Wright ZXT Stander 61" Zero Turn Mower
                                            2023   (2) Wright ZK Stander 52" Zero Turn Mower
                                            2023   (2) Wright Grasscatcher w/LG Extension
                                            2023   Wright 3-Bag System for 61" WZ
                                            2022   (3) Echo Trimmer SRM-2620
                                            2022   (2) Echo PE-2620S Straight Shaft Edger
                                            2022    (3) Echo PB-770T Power Blower
                                            2023   Echo CS355T 16" Chainsaw
                                            2022   Echo PAS-2620 Gas Power Head
                             40520985                                                                                         x
                                            2023   Echo HC-2210 Hedge Trimmer
                                            2022   Echo HC-2210 Hedge Trimmer
                                            2022   Echo 5 GAL Backpack Sprayer
Western Equipment Finance                   2022   Echo Trimmer Straight Shaft Head Attachment
                                            2022   Echo Edger Straight Shaft Attachment
                                            2022   Echo Hedge Trimmer Articulating Attachment
                                            2022   (2) Vinyl Coated Rack for Enclosed Trailer
                                            2022   (3) Backpack Blower Rack w/Keyed Lock
                                            2022   (4) No Spill Can Rack
                                                   (2) Exmark Lazer Z X-Series 60" KAW Mower
                             40514121       2022   (2) Exmark Staris S-Series 52" KAW 730 Mower                               x
                                                   (2) Exmark Staris E-Series 36" KAW 600 Mower
                             40470106       2021   (2) Exmark Staris S-Series 52" Mower                             x
                             40456873       2021   (1) Exmark Lazer Z X-Series 60" KAW Mower                        x
                                                   (1) Exmark Lazer Z X-Series 60" KAW Mower
                             40445781                                                                               x
                                            2021   (1) Exmark Staris S-Series 36" Mower
                             40737527       2020   Furniture/Office Equipment/Phone Equipment Installation          x
                             40910676       2021   (2) 52 Spay Master                                               x
                             40877888       2021   (2) Landscaping Trailers                                         x
                             40934600       2021   (2) Landscaping Trailers                                         x
   Navitas Credit Corp.
                             41057790       2023   New building Upfit                                               x
                             41099611       2023   New building Upfit                                               x
                             41101953       2023   New building Upfit                                               x
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                                                       Equipment Inventory

                             41107554      2023   (1) Landscaping Trailer                                   x
 Summit Vendor Finance         23614       2021   Vermeer CTX160 Mini Skid Steer                                      x
De Lage Landen Financial   500-50192345    2021   Vermeer CTX100 Mini Skid Steer                                      x
                              185359       2021   Bobcat T76 Compact Tract Serial # B4CE15278               x
PNC Equipment Finance         191936       2022   Bobcat E42 Compact Tract Serial # B4GM14974               x
                              192964       2022   Bobcat T76 Compact Tract Serial # B4CE18243               x
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Fill in this information to identify the case:

Debtor name         Robbins Service Group, LLC

United States Bankruptcy Court for the:           WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)             23-40082
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Ally Financial                               Describe debtor's property that is subject to a lien                 $203,809.92                  Unknown
      Creditor's Name                              Equipment Debt
      PO Box 380901
      Bloomington, MN 55438
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



      General Motors Financial
2.2                                                                                                                     $167,715.20                  Unknown
      Company, Inc.                                Describe debtor's property that is subject to a lien
      Creditor's Name                              Equipment Debt
      PO Box 183593
      Arlington, TX 76096-3834
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 4
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Debtor      Robbins Service Group, LLC                                                             Case number (if known)     23-40082
            Name

          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.3   Global Merchant Cash                         Describe debtor's property that is subject to a lien                     $66,000.00     Unknown
      Creditor's Name                              Merchant Cash Advance loan
      64 Beaver St., Suite 415
      New York, NY 10004
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.4   Green Grass Capital                          Describe debtor's property that is subject to a lien                          $0.00     Unknown
      Creditor's Name                              Merchant Cash Advance loan
      1 Whitehall St., Suite 200
      New York, NY 10004
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



      Isuzu Finance of America,
2.5                                                Describe debtor's property that is subject to a lien                     $82,789.90     Unknown
      Inc.
      Creditor's Name                              Equipment Debt
      2500 Westchester Ave.,
      Suite 312
      Purchase, NY 10577
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2 of 4
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            Name

      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



      Mitsubishi HC Capital
2.6                                                                                                                         $340,860.32     Unknown
      America                                      Describe debtor's property that is subject to a lien
      Creditor's Name                              Equipment Debt
      800 Connecticut Ave.
      4th Floor North
      Norwalk, CT 06854-1631
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



      Toyota Industries
2.7                                                                                                                          $39,420.41     Unknown
      Commercial Finance Inc                       Describe debtor's property that is subject to a lien
      Creditor's Name                              Sprayer
      PO Box 9050
      Dallas, TX 75019-9050
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 3 of 4
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3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $900,595.75

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                              page 4 of 4
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Fill in this information to identify the case:

Debtor name        Robbins Service Group, LLC

United States Bankruptcy Court for the:         WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)           23-40082
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $1,550.96         $1,550.96
          Bradley Lewis                                       Check all that apply.
          8802 Cameron Spring Road                               Contingent
          Charlotte, NC 28214                                    Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              401K
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $1,038.46         $1,038.46
          Brian O'Day                                         Check all that apply.
          4745 Hot Rod Road                                      Contingent
          Catawba, NC 28609                                      Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Payroll
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes




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2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $1,934.87   $1,934.87
         Brian O'Day                                        Check all that apply.
         4745 Hot Rod Road                                     Contingent
         Catawba, NC 28609                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            401K
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes


2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $912.35   $912.35
         Cameron Moore                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            401K
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes


2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $769.22   $769.22
         Daniel B. Taylor                                   Check all that apply.
         824 Valleydale Road                                   Contingent
         Charlotte, NC 28214                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Payroll
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $1,538.46   $1,538.46
         Joseph Ellis                                       Check all that apply.
         1915 Lynmore Drive                                    Contingent
         Sherrills Ford, NC 28673                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Payroll
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 15
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2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $1,719.28   $1,719.28
         Joseph Ellis                                       Check all that apply.
         1915 Lynmore Drive                                    Contingent
         Sherrills Ford, NC 28673                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            401K
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes


2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $1,105.41   $1,105.41
         Leandro Bonilla-Torres                             Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            401K
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes


2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $987.37   $987.37
         Luis Brenes                                        Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            401K
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes


2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $801.37   $801.37
         Marlan Perry                                       Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            401K
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes




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2.11     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $11,440.00   $11,440.00
         Michael Robbins                                    Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Payroll
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes


2.12     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $14,120.00   $14,120.00
         Roberta I. Robbins                                 Check all that apply.
         11324 Lauren Ln.                                      Contingent
         Davidson, NC 28033                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            401K
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes


2.13     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $1,000.00   $1,000.00
         Roberta I. Robbins                                 Check all that apply.
         11324 Lauren Ln.                                      Contingent
         Davidson, NC 28033                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Payroll
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.14     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $1,603.43   $1,603.43
         Triston McEwen                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            401K
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes




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              Name

2.15       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $2,234.24   $2,234.24
           Victoria Bolick                                      Check all that apply.
                                                                   Contingent
                                                                   Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
                                                                Payroll
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes


2.16       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $5,600.00   $5,600.00
           Victoria Bolick                                      Check all that apply.
                                                                   Contingent
                                                                   Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
                                                                401K
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                   Yes



Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

3.1       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                     $0.00
          3D Worldwide, LLC                                                       Contingent
          The Deaton Law Firm, PLLC                                               Unliquidated
          3638 N. Hwy 16                                                          Disputed
          Denver, NC 28037
                                                                              Basis for the claim: Lease
          Date(s) debt was incurred
          Last 4 digits of account number                                     Is the claim subject to offset?     No       Yes


3.2       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                   $859.00
          A Sani-Can                                                              Contingent
          8151 Webbs Rd.                                                          Unliquidated
          Denver, NC 28037                                                        Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

3.3       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                     $0.00
          ADT Headquarters                                                        Contingent
          1501 Yamato Rd.                                                         Unliquidated
          Boca Raton, FL 33431                                                    Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: Notice Purposes Only
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes




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3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $80,507.14
         American Express                                             Contingent
         PO Box 6031                                                  Unliquidated
         Carol Stream, IL 60197                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Argos                                                        Contingent
         455 South Johnston St.                                       Unliquidated
         Dallas, GA 30132                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods/Materials
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $5,214.80
         Artisan Signs                                                Contingent
         18335 Old Statesville Road "L"                               Unliquidated
         Cornelius, NC 28031                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods/Materials
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Aspire, LLC                                                  Contingent
         390 S Woodsmill Rd                                           Unliquidated
         Chesterfield, MO 63017                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Software
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $5,236.82
         Capital One                                                  Contingent
         PO Box 71087                                                 Unliquidated
         Charlotte, NC 28272                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,706.40
         Carolina Foundation Solutions & Supply                       Contingent
         10810 Southern Loop Blvd, Suite 17                           Unliquidated
         Pineville, NC 28134                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Supplies
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $38,540.74
         Chase                                                        Contingent
         PO Box 1423                                                  Unliquidated
         Charlotte, NC 28201                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Robbins Service Group, LLC                                                      Case number (if known)            23-40082
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3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $6,847.33
         Cintas                                                       Contingent
         PO Box 631025                                                Unliquidated
         Cincinnati, OH 45632                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Supplies
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $30,000.00
         Clark Caniff                                                 Contingent
         145 S. Livernois, Suite 240                                  Unliquidated
         Rochester Hills, MI 48307                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Recruiting fees
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,467.37
         Coast                                                        Contingent
         PO Box 483                                                   Unliquidated
         New York, NY 10014                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Fleet, equipment fuel
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $653.42
         Cooke Rentals                                                Contingent
         5743 Highway 150 East                                        Unliquidated
         Denver, NC 28037                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Rental Equipment
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $18,750.00
         Davenport Law                                                Contingent
         5900 South Lake Forest Dr., Suite 300                        Unliquidated
         Mckinney, TX 75070
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Professional fees
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $396.14
         DeLage Landen Financial                                      Contingent
         1111 Old Eagle School Road                                   Unliquidated
         Wayne, PA 19087                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Equipment Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $105.10
         Denver Tire & Automotive                                     Contingent
         3309 N. Hwy 16                                               Unliquidated
         Denver, NC 28037                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $873.89
         Duke Energy Headquarters                                     Contingent
         526 S. Church St.                                            Unliquidated
         Charlotte, NC 28202                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Notice Purposes Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $69,360.00
         EBF Holdings, LLC                                            Contingent
         dba Everest Business Funding                                 Unliquidated
         102 West 38th Street, 6th Floor
                                                                      Disputed
         New York, NY 10018
                                                                   Basis for the claim: Merchant Cash Advance loan
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $43,309.98
         Erie Insurance                                               Contingent
         100 Erie Insurance Place                                     Unliquidated
         Erie, PA 16530                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Insurance
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $48,150.00
         First Citizens Bank & Trust Company                          Contingent
         4300 Six Forks Road                                          Unliquidated
         Raleigh, NC 27609                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Great Lakes Petroleum                                        Contingent
         5001 Wilkinson Blvd                                          Unliquidated
         Charlotte, NC 28208                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Fuel supplier
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $63,966.89
         Green Resources                                              Contingent
         PO Box 429                                                   Unliquidated
         Colfax, NC 27235                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Materials
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $23,347.72
         Greenberg, Grant & Richards, Inc.                            Contingent
         5858 Westheimer Rd., Suite 500                               Unliquidated
         Houston, TX 77057
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Third-Party Collections Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,800.00
         Ground Technological Services                                Contingent
         2067 Hwy 16 N Business                                       Unliquidated
         Denver, NC 28037                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Engineering services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,500.00
         Headrick Outdoor Media                                       Contingent
         1 Freedom Square                                             Unliquidated
         Laurel, MS 39440                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Billboard ads
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Internal Revenue Service                                     Contingent
         Centralized Insolvency Operation                             Unliquidated
         PO Box 7346                                                  Disputed
         Philadelphia, PA 19101
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Internal Revenue Service                                     Contingent
         Centralized Insolvency Operation                             Unliquidated
         1111 Pennsylvania Avenue NW                                  Disputed
         Washington, DC 20004-2541
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,646.75
         Interstate Supplies & Service                                Contingent
         511 Union West Blvd                                          Unliquidated
         Stallings, NC 28104                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Equipment & equipment                   repair
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $93,500.00
         Kalamata Capital Group, LLC                                  Contingent
         Berkovitch & Bouskila, PLLC                                  Unliquidated
         1545 Route 202, Ste. 101
                                                                      Disputed
         Pomona, NY 10970
                                                                   Basis for the claim: Merchant Cash Advance loan
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Lincoln County                                               Contingent
         c/o Megan Gilbert, County Attorney                           Unliquidated
         353 N. Generals Blvd.                                        Disputed
         Lincolnton, NC 28092
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Lyon Financial                                               Contingent
         118 Morlake Dr., Suite 202                                   Unliquidated
         Mooresville, NC 28117                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Notice Purposes Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,450.00
         Magic Maid                                                   Contingent
         P.O. Box 1982                                                Unliquidated
         Denver, NC 28037                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,468.84
         Markham Landscape Products                                   Contingent
         P O Box 481029                                               Unliquidated
         Charlotte, NC 28269                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Materials
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,048.64
         Martin Marietta                                              Contingent
         PO Box 30013                                                 Unliquidated
         Raleigh, NC 27622                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Stone supplier
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $200.49
         Moz Stone                                                    Contingent
         3101 Yorkmont Rd., Suite 1600                                Unliquidated
         Charlotte, NC 28208                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $194,638.21
         Navitas Credit Corp.                                         Contingent
         201 Executive Center Dr., Suite 100                          Unliquidated
         Columbia, SC 29210                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Equipment
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         NC Department of Revenue                                     Contingent
         Bankruptcy Unit                                              Unliquidated
         P.O. Box 1168                                                Disputed
         Raleigh, NC 27602
                                                                   Basis for the claim: Notice Purposes Onlynly
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $35,105.33
         NewCo Capital Group VI LLC                                   Contingent
         The Law Offices of Jason Gang, PLLC                          Unliquidated
         1245 Hewlett Plaza #478
                                                                      Disputed
         Hewlett, NY 11557
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Partners Insurance Agency, Inc.                              Contingent
         17505 W. Catawba Ave., Ste. 250                              Unliquidated
         Cornelius, NC 28031                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Notice Purposes Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $16,507.40
         Patten Seed Company/Super Sod                                Contingent
         PO Box 217                                                   Unliquidated
         Lakeland, GA 31635                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Materials
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $20,870.95
         Perennial Groves                                             Contingent
         1400 N. Highway 16                                           Unliquidated
         Denver, NC 28037                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Materials
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         PNC Equipment Finance, LLC                                   Contingent
         655 Business Center Drive, Suite 250                         Unliquidated
         Horsham, PA 19044                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Equipment
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $18.63
         Printing Pros                                                Contingent
         1252 NC 16 Business                                          Unliquidated
         Denver, NC 28037                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $856.93
         Promo Threads                                                Contingent
         19824-C W Catawba Avenue                                     Unliquidated
         Cornelius, NC 28031                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Quickbooks Payroll                                           Contingent
         Intuit Corporate Headquarters                                Unliquidated
         2632 Marine Way                                              Disputed
         Mountain View, CA 94043
                                                                   Basis for the claim: Payroll taxes
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $874.85
         Race City Steel                                              Contingent
         4052 N NC Highway 16                                         Unliquidated
         Denver, NC 28078                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Materials
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $23,310.00
         Robbins Media Group                                          Contingent
         8226 Village Harbor Drive                                    Unliquidated
         Cornelius, NC 28031                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $111.19
         RS Braswel                                                   Contingent
         485 S. Cannon Blvd                                           Unliquidated
         Kannapolis, NC 28083                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Equipment & equipment                   repair
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Rush Truck Centers of Georgia, Inc.                          Contingent
         2120 Atlanta Rd SE                                           Unliquidated
         Smyrna, GA 30080-1518                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Equipment
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Securities & Exchange Commission
         Office of Reorganization                                     Contingent
         Suite 900                                                    Unliquidated
         950 East Paces Ferry Road, N.E.                              Disputed
         Atlanta, GA 30326-1382
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Securities and Exchange Commission                           Contingent
         100 F Street, NE                                             Unliquidated
         Washington, DC 20549                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Notice Purposes Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $47,637.21
         Shell Small Business (WEX Bank)                              Contingent
         PO Box 6293                                                  Unliquidated
         Carol Stream, IL 60197                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Fleet, equipment fuel
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $82,230.50
         Site One                                                     Contingent
         300 Colonial Center Parkway, Suite 600                       Unliquidated
         Roswell, GA 30076                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Materials, tools
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,450.00
         Southern Landscape Design                                    Contingent
         3821 Davis Dr                                                Unliquidated
         Charlotte, NC 28270                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Landscape design services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Spectrum Business Headquarters                               Contingent
         400 Atlantic Street                                          Unliquidated
         Stamford, CT 06901                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Notice Purposes Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Stevens-Weir Southern                                        Contingent
         1523 S Anderson Rd                                           Unliquidated
         Rock Hill, SC 29730                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Concrete vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Summit Vendor Finance                                        Contingent
         4680 Parkway Drive, Suite 300                                Unliquidated
         Mason, OH 45040                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Equipment
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,324.74
         T3 Computer Services                                         Contingent
         645 Kannapolis Pkwy                                          Unliquidated
         Concord, NC 28027                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: IT Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,966.31
         The Sagamore Companies                                       Contingent
         2001 Barlow Road                                             Unliquidated
         Hudson, OH 44236                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Materials
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $15,705.77
         UCB Visa (Elan Financial Services)                           Contingent
         PO Box 790408                                                Unliquidated
         St Louis, MO 63178                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $532,257.53
         United Community Bank                                        Contingent
         160 Mine Lake Ct., Ste. 200                                  Unliquidated
         Raleigh, NC 27615                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: SBA loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         US Attorney's Office                                         Contingent
         1700 Carillon                                                Unliquidated
         227 West Trade Street                                        Disputed
         Charlotte, NC 28202
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Verizon Wireless Headquarters                                Contingent
         1095 Avenue of the Americas                                  Unliquidated
         New York, NY 10013                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Notice Purposes Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,024.05
         Vermeer All Roads                                            Contingent
         925 Merritt Blvd                                             Unliquidated
         Baltimore, MD 21222                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Equipment Repair
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $671.75
         Western Equipment Finance                                    Contingent
         PO Box 640                                                   Unliquidated
         Devils Lake, ND 58301                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Equipment
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.67      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $231,360.00
          White Road Capital, LLC                                              Contingent
          dba Global Funding Experts Holdings                                  Unliquidated
          27-01 Queens Plaza North, Suite 802
                                                                               Disputed
          Long Island City, NY 11101
                                                                           Basis for the claim: Merchant Cash Advance loan
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                       48,355.42
5b. Total claims from Part 2                                                                           5b.   +    $                    1,758,828.81

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        1,807,184.23




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Fill in this information to identify the case:

Debtor name       Robbins Service Group, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)     23-40082
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Equipment Leases
           lease is for and the nature of
           the debtor's interest

               State the term remaining

           List the contract number of any                                          *See Attached Schedule G Spreadsheet*
                 government contract


2.2.       State what the contract or            Building Rent
           lease is for and the nature of
           the debtor's interest

               State the term remaining          28 months
                                                                                    3D Worldwide
           List the contract number of any                                          4052 Hwy 16
                 government contract                                                Denver, NC 28037


2.3.       State what the contract or
           lease is for and the nature of
           the debtor's interest

               State the term remaining                                             Approximately 131 Landscaping
                                                                                    Maintenance Agreements with
           List the contract number of any                                          Customers
                 government contract


2.4.       State what the contract or
           lease is for and the nature of
           the debtor's interest

               State the term remaining                                             Approximately 17 Landscaping
                                                                                    Installation Agreements with
           List the contract number of any                                          Customers
                 government contract




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Debtor 1 Robbins Service Group, LLC                                              Case number (if known)   23-40082
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or        Office Lease
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Blu Robbin Group
          List the contract number of any                               8226 Village Harbor
                government contract                                     Cornelius, NC 28031




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                  Page 2 of 2
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                                                                         Equipment Leases
Leased Property                        Lessor
(2) Exmark Staris S‐Series 52" Mower   Western Equipment Finance
                                       PO Box 640
                                       Devils Lake, ND 58301
(1) Exmark Lazer Z X‐Series 60" KAW    Western Equipment Finance
Mower                                  PO Box 640
                                       Devils Lake, ND 58301
(1) Exmark Lazer Z X‐Series 60" KAW    Western Equipment Finance
Mower                                  PO Box 640
                                       Devils Lake, ND 58301
(1) Exmark Staris S‐Series 36" Mower   Western Equipment Finance
                                       PO Box 640
                                       Devils Lake, ND 58301
Furniture/Office Equipoment/Phone      Navitas Credit Corp.
Equipment Installation                 201 Executive Center Dr.
                                       Suite 100
                                       Columbia, SC 29210
(2) 52 Spray Master                    Navitas Credit Corp.
                                       201 Executive Center Dr.
                                       Suite 100
                                       Columbia, SC 29210
(2) Landscaping Trailers               Navitas Credit Corp.
                                       201 Executive Center Dr.
                                       Suite 100
                                       Columbia, SC 29210
(2) Landscaping Trailers               Navitas Credit Corp.
                                       201 Executive Center Dr.
                                       Suite 100
                                       Columbia, SC 29210
New building Upfit                     Navitas Credit Corp.
                                       201 Executive Center Dr.
                                       Suite 100
                                       Columbia, SC 29210
New building Upfit                     Navitas Credit Corp.
                                       201 Executive Center Dr.
                                       Suite 100
                                       Columbia, SC 29210
New building Upfit                     Navitas Credit Corp.
                                       201 Executive Center Dr.
                                       Suite 100
                                       Columbia, SC 29210
(1) Landscaping Trailer                Navitas Credit Corp.
                                       201 Executive Center Dr.
                                       Suite 100
                                       Columbia, SC 29210
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                                                                         Equipment Leases
Bobcat T76 Compact Tract Serial #     PNC Equipment Finance, LLC
B4CE15278                             655 Business Center Drive
                                      Suite 250
                                      Horsham, PA 19044

Bobcat E42 Compact Tract Serial #     PNC Equipment Finance, LLC
B4GM14974                             655 Business Center Drive
                                      Suite 250
                                      Horsham, PA 19044

Bobcat T76 Compact Tract Serial #     PNC Equipment Finance, LLC
B4CE18243                             655 Business Center Drive
                                      Suite 250
                                      Horsham, PA 19044
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Fill in this information to identify the case:

Debtor name      Robbins Service Group, LLC

United States Bankruptcy Court for the:   WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)   23-40082
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Blu Robbin                  8226 Village Harbor                                       Kalamata Capital                   D
          Group LLC                   Cornelius, NC 28031                                       Group, LLC                         E/F       3.30
                                                                                                                                   G




   2.2    Blu Robbin                  8226 Village Harbor                                       NewCo Capital Group                D
          Group, LLC                  Cornelius, NC 28031                                       VI LLC                             E/F       3.39
                                                                                                                                   G




   2.3    EZ Tear Media,              9815-J Sam Furr Road, #105                                Kalamata Capital                   D
          LLC                         Huntersville, NC 28078-8219                               Group, LLC                         E/F       3.30
                                                                                                                                   G




   2.4    EZ Tear Media,              9815-J Sam Furr Road, #105                                NewCo Capital Group                D
          LLC                         Huntersville, NC 28078-8219                               VI LLC                             E/F       3.39
                                                                                                                                   G




   2.5    Michael A.                  11324 Lauren Ln.                                          PNC Equipment                      D
          Robbins                     Davidson, NC 28033                                        Finance, LLC                       E/F       3.43
                                                                                                                                   G




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         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Michael A.               11324 Lauren Ln.                                    Western Equipment                  D
          Robbins                  Davidson, NC 28033                                  Finance                            E/F   3.66
                                                                                                                          G




  2.7     Michael A.               11324 Lauren Ln.                                    Navitas Credit Corp.               D
          Robbins                  Davidson, NC 28033                                                                     E/F   3.37
                                                                                                                          G




  2.8     Michael A.               11324 Lauren Ln.                                    First Citizens Bank &              D
          Robbins                  Davidson, NC 28033                                  Trust Company                      E/F   3.21
                                                                                                                          G




  2.9     Michael A.               11324 Lauren Ln.                                    United Community                   D
          Robbins                  Davidson, NC 28033                                  Bank                               E/F   3.62
                                                                                                                          G




  2.10    Michael A.               11324 Lauren Ln.                                    Global Merchant                    D   2.3
          Robbins                  Davidson, NC 28033                                  Cash                               E/F
                                                                                                                          G




  2.11    Michael A.               11324 Lauren Ln.                                    Kalamata Capital                   D
          Robbins                  Davidson, NC 28033                                  Group, LLC                         E/F   3.30
                                                                                                                          G




  2.12    Michael A.               11324 Lauren Ln.                                    White Road Capital,                D
          Robbins                  Davidson, NC 28033                                  LLC                                E/F   3.67
                                                                                                                          G




  2.13    Michael A.               11324 Lauren Ln.                                    Green Grass Capital                D   2.4
          Robbins                  Davidson, NC 28033                                                                     E/F
                                                                                                                          G




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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.14    Michael A.               11324 Lauren Ln.                                    EBF Holdings, LLC                  D
          Robbins                  Davidson, NC 28033                                                                     E/F   3.19
                                                                                                                          G




  2.15    Michael A.               11324 Lauren Ln.                                    NewCo Capital Group                D
          Robbins                  Davidson, NC 28033                                  VI LLC                             E/F   3.39
                                                                                                                          G




  2.16    Mosquito                 8226 Village Harbor Drive                           Kalamata Capital                   D
          Defense of LKN,          Cornelius, NC 28031-3706                            Group, LLC                         E/F   3.30
          LLC
                                                                                                                          G




  2.17    Mosquito                 8226 Village Harbor Drive                           Green Grass Capital                D   2.4
          Defense of LKN,          Cornelius, NC 28031-3706                                                               E/F
          LLC
                                                                                                                          G




  2.18    Mosquito                 8226 Village Harbor Drive                           NewCo Capital Group                D
          Defense of LKN,          Cornelius, NC 28031-3706                            VI LLC                             E/F   3.39
          LLC
                                                                                                                          G




  2.19    Robbins Media            8226 Village Harbor Drive                           Kalamata Capital                   D
          Group LLC                Cornelius, NC 28031                                 Group, LLC                         E/F   3.30
                                                                                                                          G




  2.20    Robbins Media            8226 Village Harbor Drive                           Green Grass Capital                D   2.4
          Group LLC                Cornelius, NC 28031                                                                    E/F
                                                                                                                          G




  2.21    Robbins Media            8226 Village Harbor Drive                           NewCo Capital Group                D
          Group LLC                Cornelius, NC 28031                                 VI LLC                             E/F   3.39
                                                                                                                          G




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         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.22    Roberta I.               11324 Lauren Ln.                                    Western Equipment                  D
          Robbins                  Davidson, NC 28033                                  Finance                            E/F   3.66
                                                                                                                          G




  2.23    Roberta I.               11324 Lauren Ln.                                    Navitas Credit Corp.               D
          Robbins                  Davidson, NC 28033                                                                     E/F   3.37
                                                                                                                          G




  2.24    Roberta I.               11324 Lauren Ln.                                    First Citizens Bank &              D
          Robbins                  Davidson, NC 28033                                  Trust Company                      E/F   3.21
                                                                                                                          G




  2.25    Roberta I.               11324 Lauren Ln.                                    United Community                   D
          Robbins                  Davidson, NC 28033                                  Bank                               E/F   3.62
                                                                                                                          G




  2.26    Roberta I.               11324 Lauren Ln.                                    EBF Holdings, LLC                  D
          Robbins                  Davidson, NC 28033                                                                     E/F   3.19
                                                                                                                          G




  2.27    Roberta I.               11324 Lauren Ln.                                    Global Merchant                    D   2.3
          Robbins                  Davidson, NC 28033                                  Cash                               E/F
                                                                                                                          G




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Fill in this information to identify the case:

Debtor name         Robbins Service Group, LLC

United States Bankruptcy Court for the:    WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)    23-40082
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                             $1,577,148.81
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $3,401,955.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                             $3,325,201.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




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      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             **See Attached SOFA 3.1**                                                                     $0.00              Secured debt
                                                                                                                              Unsecured loan repayments
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   **See Attached SOFA 4**                                                                       $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                  Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                  Status of case
             Case number                                                           address
      7.1.   NewCo Capital Group VI LLC                Breach of                   Supreme Court of New York                       Pending
             v. Robbins Media Group, LLC               Contract                    Monroe County                                   On appeal
             et al
                                                                                                                                   Concluded

      7.2.   Kalmata Capital Group, LLC                Breach of                   Supreme Court of New York                       Pending
             v. Robbins Service Group,                 Contract                    Washington County                               On appeal
             LLC et al
                                                                                                                                   Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

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          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                 Dates given                         Value

      9.1.    East Lincoln Christian                  Charity Golf Tournament
              Ministry
              P.O. Box 421
              Denver, NC 28037                                                                                  1/1/2021                       $1,070.00

              Recipients relationship to debtor




Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                  Dates of loss           Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).
      Job materials, company-owned                                                                              2022/2023                      Unknown
      materials taken/withheld for
      personal use


Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates              Total amount or
               the transfer?                                                                                                                      value
               Address
      11.1.    Rayburn Cooper & Durham,
               PA
               227 West Trade Street, Ste.                                                                            March
               1200                                                                                                   through
               Charlotte, NC 28202                                                                                    May 2023                $22,500.00

               Email or website address


               Who made the payment, if not debtor?




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               Who was paid or who received               If not money, describe any property transferred               Dates               Total amount or
               the transfer?                                                                                                                         value
               Address
      11.2.    Davenport Law
               5900 South Lake Forest Dr.                                                                               February
               McKinney, TX 75070                                                                                       2023                      $6,250.00

               Email or website address
               www.davenportlaw.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To
      14.1.    4424 N NC-16 Business Hwy                                                                            7/2020 - 11/2022
               Denver, NC 28037

      14.2.    4458 N NC-16 Business Hwy                                                                            1/2022 - 11/2022
               Denver, NC 28037

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services                If debtor provides meals
                                                       the debtor provides                                                         and housing, number of
                                                                                                                                   patients in debtor’s care


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Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                 Name, Physical Address, Mailing Address, E-mail Address, Checking
                 Account Numbers, Credit Card Numbers, Gate Codes
                 Does the debtor have a privacy policy about that information?
                   No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:

Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address
      United Community Bank                                  Michael A. Robbins                    Personal Documents                             No
      160 Mine Lake Ct., Ste. 200                                                                                                                 Yes
      Raleigh, NC 27615


20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
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    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        REH CPA                                                                                                            2021 - Present
                    223 Williamson Road, Suite 104
                    Mooresville, NC 28117

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    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.1.        REH CPA                                                                                                         2021 - Present
                    223 Williamson Road, Suite 104
                    Mooresville, NC 28117

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        REH CPA                                                                          2021 - Present
                    223 Williamson Road, Suite 104
                    Mooresville, NC 28117

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory
      27.1 Bill Botkin & Roberta Robbins
      .                                                                             6/2/2023                 Unknown

               Name and address of the person who has possession of
               inventory records
               United Community Bank
               160 Mine Lake Ct., Ste. 200
               Raleigh, NC 27615


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Michael A. Robbins                      11324 Lauren Ln.                                    Managing Member                           50%
                                              Davidson, NC 28033

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Roberta I. Robbins                      11324 Lauren Ln.                                    Member                                    50%
                                              Davidson, NC 28033



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


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Debtor      Robbins Service Group, LLC                                                         Case number (if known) 23-40082




           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Michael A. Robbins
      .    11324 Lauren Ln.                                                                                     5/15/2022 -         Draws/Reimburse
             Davidson, NC 28033                       $454,939.37                                               5/14/2023           ment

             Relationship to debtor
             Member/President/CEO


      30.2 Michael A. Robbins
      .    11324 Lauren Ln.                                                                                     5/15/2022 -
             Davidson, NC 28033                       $103,240.00                                               5/14/2023           Salary

             Relationship to debtor
             Member/President/CEO


      30.3 Roberta I. Robbins
      .    11324 Lauren Ln.                                                                                     5/15/2022 -
             Davidson, NC 28033                       $40,000.00                                                5/14/2023           Salary

             Relationship to debtor
             Member


      30.4 Ashley Smith
      .    5300 Ennisworth Lane                                                                                 5/15/2022 -
             Charlotte, NC 28214                      $40,800.00                                                5/14/2023           Salary

             Relationship to debtor
             Relative of Member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in

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     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         June 9, 2023

/s/ Michael A. Robbins                                          Michael A. Robbins
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President/CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 9
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                                                                               Payments Within 90 Days

                                                         Unsecured
                                               Secured   Loan
Creditor                       Payments        Debt      Repayment   Supplier/Vendor    Services

                                                                               x
3D Worldwide                    $ 50,000.00
Argos                           $ 10,901.03                                    x


                                                                               x

Blue Cross Blue Shield of NC    $ 20,180.43
                                                              x
BM W Financial                  $   7,973.42

                                                                               x
Erie Insurance                  $ 35,417.23

                                                              x
Everest Business Funding        $   6,936.00

                                                              x
Global Funding Experts          $ 23,340.00
                                                     x
GM Financial                    $   9,982.74

                                                              x
Green Grass One                 $ 18,178.00
                                                     x
M itsubishi                     $ 11,335.58

                                                     x
Navitas Credit Corp             $ 34,751.35
PNC                             $ 9,966.87           x


                                                                               x
QuickBooks Payments             $   6,979.78


                                                                               x
Rayburn Cooper & Durham,
PA                              $ 22,500.00
Shell                           $ 31,530.69                                    x
Site One                        $ 85,520.32                                    x
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                                                                            Payments Within 90 Days

                                                      Unsecured
                                            Secured   Loan
Creditor                    Payments        Debt      Repayment   Supplier/Vendor    Services

                                                                            x
Soil Supply                  $ 11,876.23

                                                                            x
Unifirst Corporation         $ 14,800.00


                                                  x
Western Equipment Finance    $   8,082.96
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                                                                                            Payments Within 1 Year
           Name                                Date         Amount          Transaction type
           Michael Robbins*                      5/16/2022 $     50,000.00 Deposit
           Michael Robbins                       5/17/2022 $     50,000.00 Deposit
           Michael Robbins                       5/26/2022 $    (25,000.00) Check
           Michael Robbins                         7/6/2022 $   (10,000.00) Check
           Michael Robbins                         7/7/2022 $   (10,000.00) Check
           Michael Robbins                         8/4/2022 $    25,000.00 Deposit
           Michael Robbins                         8/5/2022 $    (8,000.00) Check
           Michael Robbins                         8/8/2022 $    50,000.00 Deposit
           Michael Robbins                       8/15/2022 $     45,000.00 Deposit
           Michael Robbins                       8/29/2022 $     (5,000.00) Expense
           Michael Robbins                         9/1/2022 $   (10,000.00) Expense
           Michael Robbins                         9/8/2022 $    (7,500.00) Expense
           Michael Robbins                       9/17/2022 $       2,500.00 Credit Card
           Michael Robbins                       9/19/2022 $     (2,000.00) Expense
           Michael Robbins                       9/21/2022 $     (2,000.00) Expense
           Michael Robbins                       9/22/2022 $     (6,000.00) Expense
           Michael Robbins                       9/22/2022 $     (5,000.00) Expense
           Michael Robbins                       9/22/2022 $     (2,000.00) Expense
           Michael Robbins                       9/23/2022 $     (4,897.98) Expense
           Michael Robbins                       9/23/2022 $       9,000.00 Deposit
           Michael Robbins                       9/26/2022 $     (3,500.00) Expense
           Michael Robbins                       9/29/2022 $    (10,000.00) Expense
           Michael Robbins                       10/4/2022 $     (2,000.00) Expense
           Michael Robbins                       10/6/2022 $     (7,500.00) Journal Entry
           Michael Robbins                      10/10/2022 $    (10,000.00) Expense
           Michael Robbins                      10/17/2022 $     20,000.00 Deposit
           Michael Robbins                      10/18/2022 $       2,600.00 Deposit
           Michael Robbins                      10/18/2022 $     16,000.00 Deposit
           Michael Robbins                      10/19/2022 $     19,400.00 Deposit
           Michael Robbins                      10/20/2022 $     (2,500.00) Expense
           Michael Robbins                      10/24/2022 $     45,000.00 Deposit
           Michael Robbins                      10/27/2022 $     20,000.00 Deposit
           Michael Robbins                       11/8/2022 $     (3,000.00) Expense
           Michael Robbins                      11/14/2022 $       2,500.00 Deposit
           Michael Robbins                      11/16/2022 $     75,000.00 Deposit
           Michael Robbins                      11/18/2022 $     50,000.00 Deposit
           Michael Robbins                      12/15/2022 $     75,000.00 Deposit
           Michael Robbins                      12/15/2022 $       5,995.00 Deposit
           Michael Robbins                      12/16/2022 $       9,505.00 Deposit
           Michael Robbins                      12/16/2022 $           5.00 Deposit
           Michael Robbins                      12/19/2022 $         175.00 Deposit
           Michael Robbins                      12/19/2022 $           5.00 Deposit
    *The Debtor believes some of these transactions may have been made to Robbins Media Group, LLC, and continues to investigate its books and records.
    The Debtor reserves all rights to amend the Statements as necessary following its investigation.

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       Name              Date         Amount           Transaction type
       Michael Robbins    12/19/2022 $         480.00 Deposit
       Michael Robbins    12/19/2022 $     (1,000.00) Expense
       Michael Robbins    12/20/2022 $         565.00 Deposit
       Michael Robbins    12/20/2022 $       5,650.00 Deposit
       Michael Robbins    12/20/2022 $       1,410.00 Deposit
       Michael Robbins    12/27/2022 $       4,895.00 Deposit
       Michael Robbins    12/29/2022 $       1,000.00 Deposit
       Michael Robbins    12/30/2022 $         450.00 Deposit
       Michael Robbins    12/30/2022 $       5,000.00 Deposit
       Michael Robbins       1/1/2023 $    (8,476.84) Expense
       Michael Robbins       1/3/2023 $    (1,000.00) Expense
       Michael Robbins       1/4/2023 $    (3,300.00) Check
       Michael Robbins       1/4/2023 $       (500.00) Expense
       Michael Robbins     1/10/2023 $     (5,000.00) Expense
       Michael Robbins     1/12/2023 $    (10,000.00) Expense
       Michael Robbins     1/13/2023 $    (10,000.00) Expense
       Michael Robbins     1/13/2023 $     (5,916.66) Expense
       Michael Robbins     1/13/2023 $       8,000.00 Deposit
       Michael Robbins     1/13/2023 $        (227.91) Credit Card
       Michael Robbins     1/26/2023 $     10,000.00 Deposit
       Michael Robbins     1/27/2023 $     15,000.00 Deposit
       Michael Robbins     1/30/2023 $     (4,000.00) Expense
       Michael Robbins     1/30/2023 $        (500.00) Expense
       Michael Robbins     1/31/2023 $     (1,500.00) Expense
       Michael Robbins       2/1/2023 $    (1,700.00) Expense
       Michael Robbins       2/1/2023 $    (3,500.00) Expense
       Michael Robbins       2/6/2023 $    (1,000.00) Expense
       Michael Robbins       2/7/2023 $    (2,500.00) Expense
       Michael Robbins       2/8/2023 $           ‐    Expense
       Michael Robbins       2/8/2023 $       (700.00) Expense
       Michael Robbins       2/8/2023 $       (150.00) Expense
       Michael Robbins       2/8/2023 $        (20.00) Expense
       Michael Robbins       2/9/2023 $    (1,000.00) Expense
       Michael Robbins       2/9/2023 $      1,000.00 Transfer
       Michael Robbins     2/13/2023 $       5,000.00 Transfer
       Michael Robbins     2/15/2023 $     (5,916.66) Expense
       Michael Robbins     2/16/2023 $       8,000.00 Deposit
       Michael Robbins     2/17/2023 $            ‐    Transfer
       Michael Robbins     2/17/2023 $       2,500.00 Transfer
       Michael Robbins     2/23/2023 $    (30,000.00) Journal Entry
       Michael Robbins       3/1/2023 $    (1,000.00) Check
       Michael Robbins       3/1/2023 $    (1,500.00) Check


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                                                                       Payments Within 1 Year
       Name              Date         Amount           Transaction type
       Michael Robbins       3/1/2023 $    (1,800.00) Check
       Michael Robbins       3/1/2023 $    (2,000.00) Check
       Michael Robbins       3/2/2023 $   (40,000.00) Check
       Michael Robbins       3/2/2023 $    (2,000.00) Transfer
       Michael Robbins       3/3/2023 $      3,000.00 Transfer
       Michael Robbins       3/6/2023 $      5,000.00 Transfer
       Michael Robbins       3/9/2023 $   (30,000.00) Check
       Michael Robbins       3/9/2023 $       (500.00) Check
       Michael Robbins     3/14/2023 $     10,085.89 Deposit
       Michael Robbins     3/14/2023 $     (7,500.00) Check
       Michael Robbins     3/16/2023 $     (5,916.66) Expense
       Michael Robbins     3/16/2023 $    (40,000.00) Expense
       Michael Robbins     3/23/2023 $    (40,000.00) Expense
       Michael Robbins     3/23/2023 $     (2,000.00) Expense
       Michael Robbins     3/30/2023 $    (28,000.00) Expense
       Michael Robbins     3/30/2023 $     (2,000.00) Expense
       Michael Robbins       4/3/2023 $    (2,500.00) Transfer
       Michael Robbins       4/5/2023 $      5,000.00 Transfer
       Michael Robbins       4/6/2023 $    10,000.00 Deposit
       Michael Robbins     4/13/2023 $       1,000.00 Transfer
       Michael Robbins     4/14/2023 $       4,000.00 Deposit
       Michael Robbins     4/14/2023 $     (4,000.00) Transfer
       Michael Robbins     4/14/2023 $     (5,916.66) Transfer
       Michael Robbins     4/18/2023 $     (4,000.00) Transfer
       Michael Robbins     4/19/2023 $       4,500.00 Deposit
       Michael Robbins     4/28/2023 $       5,000.00 Deposit
       Michael Robbins       5/5/2023 $       (500.00) Expense
       Michael Robbins     5/10/2023 $       2,000.00 Deposit
                                      $   230,281.52

       Michael Robbins          2022 $      (28,600.00) Salary
       Michael Robbins      1/6/2023 $       (5,720.00) Salary
       Michael Robbins     1/18/2023 $       (5,720.00) Salary
       Michael Robbins     1/20/2023 $       (5,720.00) Salary
       Michael Robbins     1/27/2023 $       (5,720.00) Salary
       Michael Robbins      2/3/2023 $       (5,720.00) Salary
       Michael Robbins     2/10/2023 $       (5,720.00) Salary
       Michael Robbins     2/17/2002 $       (5,720.00) Salary
       Michael Robbins     3/10/2023 $       (5,720.00) Salary
       Michael Robbins     3/17/2023 $       (5,720.00) Salary
       Michael Robbins     3/24/2023 $       (5,720.00) Salary
       Michael Robbins     3/31/2023 $       (5,720.00) Salary


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       Name               Date         Amount          Transaction type
       Michael Robbins      4/21/2023 $     (5,720.00) Salary
       Michael Robbins      4/28/2023 $     (5,720.00) Salary
       Michael Robbins        5/5/2023 $    (5,720.00) Salary
       Michael Robbins      5/12/2023 $     (6,000.00) Salary
                                       $  (114,680.00)

       Ashley Smith              2022 $       (31,200.00) Salary
       Ashley Smith         2/24/2023 $          (800.00) Salary
       Ashley Smith          3/3/2023 $          (800.00) Salary
       Ashley Smith         3/10/2023 $          (800.00) Salary
       Ashley Smith         3/17/2023 $          (800.00) Salary
       Ashley Smith         3/24/2023 $          (800.00) Salary
       Ashley Smith         3/31/2023 $          (800.00) Salary
       Ashley Smith          4/7/2023 $          (800.00) Salary
       Ashley Smith         4/14/2023 $          (800.00) Salary
       Ashley Smith         4/21/2023 $          (800.00) Salary
       Ashley Smith         4/28/2023 $          (800.00) Salary
       Ashley Smith          5/5/2023 $          (800.00) Salary
       Ashley Smith         5/12/2023 $          (800.00) Salary
                                      $       (40,800.00)

       Roberta Robbins           2022 $       (36,000.00) Salary
       Roberta Robbins       1/6/2023 $        (1,000.00) Salary
       Roberta Robbins      1/20/2023 $        (1,000.00) Salary
       Roberta Robbins      4/28/2023 $        (1,000.00) Salary
       Roberta Robbins       5/5/2023 $        (1,000.00) Salary
       Roberta Robbins      5/12/2023 $        (1,000.00) Salary
                                      $       (41,000.00)

       Blu Robbin Group      6/1/2022 $        (8,000.00) Office Lease
       Blu Robbin Group      7/1/2022 $        (8,000.00) Office Lease
       Blu Robbin Group      8/1/2022 $        (8,000.00) Office Lease
       Blu Robbin Group      9/1/2022 $        (8,000.00) Office Lease
       Blu Robbin Group     10/1/2022 $        (8,000.00) Office Lease
       Blu Robbin Group     11/1/2022 $        (8,000.00) Office Lease
       Blu Robbin Group     12/1/2022 $       (24,000.00) Office Lease
       Blu Robbin Group      1/4/2023 $       (12,000.00) Office Lease
       Blu Robbin Group      2/9/2023 $       (12,000.00) Office Lease
       Blu Robbin Group      3/1/2023 $       (12,000.00) Office Lease
       Blu Robbin Group      4/1/2023 $       (12,000.00) Office Lease
       Blu Robbin Group      5/4/2023 $       (12,000.00) Office Lease
                                      $      (132,000.00)


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